  Case 2:85-cv-04544-DMG-AGR Document 835 Filed 06/26/20 Page 1 of 3 Page ID #:38485

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            June 26, 2020


       No.:            20-55658
       D.C. No.:       2:85-cv-04544-DMG-AGR
       Short Title:    Jenny Flores v. William Barr, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                      UNITED STATES COURT OF APPEALS
                                                                         FILED
                              FOR THE NINTH CIRCUIT
                                                                         JUN 26 2020
                                                                        MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




    JENNY LISETTE FLORES,                        No. 20-55658

                  Plaintiff - Appellee,
                                                 D.C. No. 2:85-cv-04544-DMG-AGR
      v.                                         U.S. District Court for Central
                                                 California, Los Angeles
    WILLIAM P. BARR, Attorney
    General; CHAD F. WOLF; U.S.                  TIME SCHEDULE ORDER
    DEPARTMENT OF HOMELAND
    SECURITY; U.S. IMMIGRATION
    AND CUSTOMS ENFORCEMENT;
    U.S. CUSTOMS AND BORDER
    PROTECTION,

                  Defendants - Appellants.



   The parties shall meet the following time schedule.

   If there were reported hearings, the parties shall designate and, if necessary, cross-
   designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
   hearings, the transcript deadlines do not apply.

    Mon., July 6, 2020           Appellants' Mediation Questionnaire due. If your
                                 registration for Appellate CM/ECF is confirmed after
                                 this date, the Mediation Questionnaire is due within
                                 one day of receiving the email from PACER
                                 confirming your registration.
    Mon., July 27, 2020          Transcript shall be ordered.
    Wed., August 26, 2020        Transcript shall be filed by court reporter.
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    Mon., October 5, 2020      Appellants' opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.
    Thu., November 5, 2020     Appellee's answering brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.

   The optional appellants' reply brief shall be filed and served within 21 days of
   service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

   Failure of the appellants to comply with the Time Schedule Order will result
   in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Ruben Talavera
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
